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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1211V
                                   Filed: November 22, 2016
                                        UNPUBLISHED

****************************
DIANN ALEXANDER,                     *
                                     *
                   Petitioner,       *       Damages Decision Based on Proffer;
v.                                   *       Influenza (“Flu”) Vaccine; Shoulder
                                     *       Injury Related to Vaccine Administration
SECRETARY OF HEALTH                  *       (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                  *       (“SPU”)
                                     *
                   Respondent.       *
                                     *
****************************
Randall G. Knutson, Knutson and Casey Law Firm, Mankato, MN, for petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On October 16, 2015, Diann Alexander (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleged that she suffered a shoulder
injury, including tendinosis, as a result of an influenza (“flu”) vaccine she received on
October 24, 2012. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On March 29, 2016, a ruling on entitlement was issued, finding petitioner entitled
to compensation. On November 21, 2016, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $66,000.00. Proffer at
1. In the Proffer, respondent represented that petitioner agrees with the proffered


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $66,000.00, in the form of a check payable to
petitioner, Diann Alexander. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                     )
    DIANN ALEXANDER,                                 )
                                                     )
                 Petitioner,                         )
                                                     )    No. 15-1211V
    v.                                               )    Chief Special Master Dorsey
                                                     )    ECF
    SECRETARY OF HEALTH AND HUMAN                    )
    SERVICES,                                        )
                                                     )
                 Respondent.                         )
                                                     )

                        PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

$66,000.00, which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.

II.      Form of the Award

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $66,000.00, in the form of a check payable to petitioner. Petitioner agrees.

                                               Respectfully submitted,

                                               BENJAMIN C. MIZER
                                               Principal Deputy Assistant Attorney General




1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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                                  s/ Sarah C. Duncan
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DATED: November 21, 2016




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